           Case 1:17-cv-01230-JB-LF Document 61 Filed 08/30/19 Page 1 of 2


                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW MEXICO

                                               Clerk's Minutes
                                   Before the Honorable James O. Browning


CASE NO. CV-17-1230-JB-LF                                        DATE: August 30, 2019

TITLE: Lee v University of NM

COURTROOM CLERK: J Wright                             COURT REPORTER: J. Bean

COURT IN SESSION: 11:19AM-11:33AM                     TOTAL TIME: 14 MINUTES

TYPE OF PROCEEDING:               DISCOVERY DISPUTE

ATTORNEYS PRESENT FOR PLAINTIFF(S):                   ATTORNEYS PRESENT FOR DEFENDANT(S):
 ARLEN CROW                                            QUINTANA SMITH


PROCEEDINGS:

11:18am       Court in session, counsel enter appearances.

11:20am Plaintiff opposes Defendant’s attempts to depose the Plaintiff on credibility issues.

11:22am       Defendant clarifies their position that it is perfectly acceptable to depose Plaintiff on

the events of that night.

11:26aM Plaintiff rebuts that past conduct of Plaintiff and whether he had admitted in the past;

getting into credibility determination.

11:27am       Court finds that the general subject matter is close enough to the case to allow the

questioning. Court overrules the objections and Plaintiff must answer and counsel can submit

Motions for Summary Judgment.

11:30am       Plaintiff clarifies that any other objections will be heard by the Court later.

11:31am       Court will not preclude the discovery questioning and will address objections through

motions later.

11:31am       Defendant clarifies deadline of first week of October for filing Summary Judgment
The Honorable James O. Browning                       -Page 1-                           Clerk’s Minutes
            Case 1:17-cv-01230-JB-LF Document 61 Filed 08/30/19 Page 2 of 2


briefing.

11:33am       Court will probably agree to any extension of deadlines they come to.

11:33am Counsel have nothing further.

11:33am Court in recess.




The Honorable James O. Browning        -Page 2-                              Clerk’s Minutes
